  Case 19-17714      Doc 24    Filed 10/11/19 Entered 10/12/19 13:00:59                Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                       )               BK No.:      19-17714
SAJJAD SYED                                  )
PARVEEN SYED                                 )               Chapter: 7
                                             )
                                                             Honorable Janet S. Baer
                                             )
                                             )
               Debtor(s)                     )

                            ORDER MODIFYING AUTOMATIC STAY

       THIS MATTER COMING TO BE HEARD on the motion filed by MTGLQ Investors, LP to
modify the automatic stay, due notice having been given, and the Court being fully advised in the
premises,

  IT IS HEREBY ORDERED that the automatic stay against MTGLQ Investors, LP and its agent or
assigns is modified pursuant to § 362(d) of the United States Bankruptcy Code as to the real property
commonly known as 17W 464 CONCORD PLACE, DARIEN, IL 60561.

   IT IS FURTHER ORDERED that the 14-day stay provision of Rule 4001(a)(3) of the Federal Rules
of Bankruptcy Procedure is waived by the Court and MTGLQ Investors, LP may immediately enforce
and implement this order granting relief from automatic stay.




                                                         Enter:


                                                                  Honorable Janet S. Baer
Dated: October 11, 2019                                           United States Bankruptcy Judge

 Prepared by:
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